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 8
                           UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10
                                  SOUTHERN DIVISION
11
12     SECURITIES AND EXCHANGE                    Case No. 8:20-cv-02398 JVS (DFMx)
13     COMMISSION,
                                                  COMPLAINT
14                 Plaintiff,
                                                  (FILED UNDER SEAL)
15           vs.
16     JUSTIN ROBERT KING; AND
17     ELEVATE INVESTMENTS LLC,

18                 Defendants,
19     SHANNON LEIGH KING,
20                 Relief Defendant.
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 1         Plaintiff Securities and Exchange Commission (“SEC”) alleges:
 2                              JURISDICTION AND VENUE
 3         1.     The Court has jurisdiction over this action pursuant to Sections 20(b),
 4   20(d)(1) and 22(a) of the Securities Act of 1933 (“Securities Act”), 15 U.S.C. §§
 5   77t(b), 77t(d)(1) & 77v(a), Sections 21(d)(1), 21(d)(3)(A), 21(e) and 27(a) of the
 6   Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §§ 78u(d)(1),
 7   78u(d)(3)(A), 78u(e) & 78aa(a), and Sections 209(d), 209(e)(1) and 214 of the
 8   Investment Advisers Act of 1940 (“Advisers Act”), 15 U.S.C. §§ 80b-9(d), 80b-
 9   9(e)(1) & 80b-14.
10         2.     Defendants have, directly or indirectly, made use of the means or
11   instrumentalities of interstate commerce, of the mails, or of the facilities of a national
12   securities exchange in connection with the transactions, acts, practices and courses of
13   business alleged in this complaint.
14         3.     Venue is proper in this district pursuant to Section 22(a) of the Securities
15   Act, 15 U.S.C. § 77v(a), Section 27(a) of the Exchange Act, 15 U.S.C. § 78aa(a), and
16   Section 214 of the Advisers Act, 15 U.S.C. § 80b-14, because certain of the
17   transactions, acts, practices and courses of conduct constituting violations of the
18   federal securities laws occurred within this district. In addition, venue is proper in
19   this district because Defendant Justin Robert King and Relief Defendant Shannon
20   Leigh King reside in this district.
21                                         SUMMARY
22         4.     Defendants Justin Robert King (“King”) and Elevate Investments, LLC
23   (“Elevate”) (collectively “Defendants”) are conducting an ongoing offering fraud, in
24   violation of the federal securities laws. Since June 2019, King and Elevate have
25   offered interests in the Elevate Investment Fund (the “Fund”), raising at least $7.4
26   million from investors. However, no such legal entity exists; investor money is in
27   reality held in brokerage and bank accounts in the name of King, his wife Shannon
28   King (“S. King”) and/or Elevate.

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 1          5.     In offering and selling investments in the Fund, King and Elevate are
 2   making materially false and misleading statements on Elevate’s publicly-accessible
 3   website. First, Elevate’s website states that King’s trading has historically resulted in
 4   profits for his clients year after year, including a 61% return for all of his clients’
 5   accounts from June 2019 through June 2020. In fact, King’s trading, across all known
 6   accounts associated with him, has resulted in substantial losses year after year,
 7   including $3.8 million in trading losses from June 2019 through June 2020. In addition,
 8   Elevate’s website lists certain “Trusted Providers,” including broker-dealers TD
 9   Ameritrade and Interactive Brokers. In fact, TD Ameritrade closed King’s and
10   Elevate’s accounts in July and August 2020, respectively, and King and Elevate have
11   never had accounts at Interactive Brokers.
12          6.     In addition, Defendants are dissipating Fund assets. In just the three
13   months from September through November 2020, King and Elevate raised $1.87
14   million from investors and suffered trading losses of $532,232. Additionally, in the
15   same period, King transferred $298,000 to Relief Defendant S. King’s bank account.
16   On December 1, 2020, King transferred an additional $100,000 to S. King’s account.
17          7.     By engaging in this conduct, Defendants have violated and continue to
18   violate the antifraud provisions of Section 10(b) of the Exchange Act, 15 U.S.C. §
19   78j(b), and Rule 10b-5 thereunder, 17 C.F.R. § 240.10b-5; Section 17(a) of the
20   Securities Act, 15 U.S.C. § 77q(a); and Section 206(4) of the Advisers Act, 15 U.S.C.
21   §§ 80b-6(4), and Rule 206(4)-8, 17 C.F.R. §275.206(4)-8. The SEC seeks a
22   Temporary Restraining Order prohibiting Defendants King and Elevate from
23   committing violations of the antifraud provisions of the federal securities laws, and
24   for orders freezing assets, requiring accountings, prohibiting the destruction of
25   documents, granting expedited discovery, and appointment of a temporary receiver
26   over Defendant Elevate. In addition, the SEC applies for an Order to Show Cause Re
27   Preliminary Injunction and Appointment of a Permanent Receiver, a finding that
28   Defendants violated the federal securities laws, the imposition of permanent

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 1   injunctions, disgorgement with prejudgment interest, and civil penalties.
 2                                      DEFENDANTS
 3         8.     Justin Robert King, age 40, is a resident of San Juan Capistrano,
 4   California. King is the founder and president of Elevate and controls its brokerage
 5   and bank accounts. Prior to forming Elevate, King traded securities for at least one
 6   other pooled investment vehicle and three other clients and ran an auto glass
 7   replacement company. King has never held any securities licenses, been registered
 8   with the Commission in any capacity, or been associated in any capacity with a
 9   registered broker-dealer or investment adviser. In 2012, King was twice charged with
10   felony heroin possession in two separate incidences, and in 2013, he pleaded guilty to
11   two felony counts of possession of a narcotic drug and was sentenced to three years’
12   probation. In addition, King was found guilty of felony assault in 2004 and found
13   guilty of felony possession of marijuana with intent to deliver and money laundering
14   in 2000.
15         9.     Elevate Investments LLC is a Wyoming limited liability company with
16   its principal place of business purportedly in Sheridan, Wyoming. On August 15,
17   2020, Elevate filed a Form D with the SEC for a $100 million securities offering
18   exempt from registration under Securities Act Rule 506(c).
19                                  RELIEF DEFENDANT
20         10.    Shannon Leigh King, age 38, is a resident of San Juan Capistrano,
21   California. S. King is King’s wife. Elevate’s website does not have any disclosure
22   that S. King is in any way affiliated with Elevate, nor is S. King disclosed in the
23   applications for Elevate’s brokerage accounts as an affiliate of Elevate.
24                                           FACTS
25         A.     The Offering
26         11.    Since June 2019, King and Elevate have been conducting a $100 million
27   securities offering through a fund called Elevate Investment Fund LLC (the “Fund”).
28   In an August 15, 2019 Form D filed with the SEC, Elevate and King said that the

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 1   offering was being conducted pursuant to Securities Act Rule 506(c). As of
 2   November 30, 2020, King and Elevate had raised at least $7.4 million from investors.
 3           12.   Elevate has a publicly-accessible website that identifies King as
 4   Elevate’s founder and President. King’s photograph appears on the website. No
 5   other persons are identified as employees or affiliates.
 6           13.   Elevate’s publicly-accessible website states that “Elevate Investment
 7   Fund, LLC” is a “Master Fund” domiciled in Wyoming. In fact, there is no legal
 8   entity with the name “Elevate Investment Fund” formed under the laws of Wyoming
 9   or any other state. Instead, Elevate and King are depositing money raised from
10   investors into brokerage and bank accounts controlled by King that are in the name of
11   King, Elevate, or S. King.
12           14.   Elevate’s website also indicates that Elevate and King will invest the
13   Fund’s money pursuant to an “Optimum Income Strategy,” which is a “hybrid style
14   which amalgamates managed futures, long/short equity, covered option writing, and
15   market neutral characteristics producing a low volatility, high yield, uncorrelated
16   return stream.”
17           15.   The website also states that Elevate will receive a performance fee for its
18   managing the Fund. Specifically, the website states that Elevate “does not charge any
19   fees for AUM [Assets Under Management]” and receives a performance fee “only …
20   after [the investors] have made a 10% return on [their] investment[s].” The website
21   further provides an example of Elevate’s fee structure: if the Fund “performs 30%,”
22   20% will go to the investor and 10% to “management.”
23           B.    King and Elevate’s Materially False Statements
24           16.   In offering and selling investments in the Fund, Elevate and King make
25   three materially false and misleading statements regarding the Fund, Elevate, and
26   King.
27           17.   First, Elevate’s website states that Elevate “delivered a 61% percent
28   return” for all clients under its management from its inception in June 2019 through

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 1   June 2020, “compared to -8% for that of its S&P 500 benchmark.” The website also
 2   touts a return of over $600,000 on an investment of $1 million.
 3         18.     During the period from June 2019 through June 2020, King and Elevate
 4   did manage five brokerage accounts in the names of themselves and affiliates and/or
 5   clients. The accounts primarily engaged in short term options trading. However,
 6   contrary to the touted 61% return, King’s trading resulted in realized losses in every
 7   account, with losses totaling over $3.8 million, as shown on the chart below:
 8                                       King & S.    Opulent,                 Individual
         Time Period         Elevate       King          LLC      Z Partners        J           Total
 9         June 1, 2019 – $(1,917,954)                $(72,820)   $(45,232)     $(13,173)   $(2,162,453)
      December 31, 2019                  $(113,274)
10      January 1, 2020- $(1,407,041)                             $(21,741)    $(23,304)    $(1,699,380)
            June 30, 2010                $(247,294)
11           Totals       $(3,324,995)   $(360,567) $(72,820)     $(66,973)    $(36,477)    $(3,861,834)
12         19.     Second, Elevate’s website touts King’s trading skills and results.
13   Specifically, the website states: “King’s extensive knowledge of the stock market is
14   what sets his company apart from the others. His in-depth evaluations, charting,
15   technical analysis and understanding of the market has made him one of the most
16   successful traders in the industry. Whether it is a bull or bear market, due to his
17   trading style, [King] has continually made a profit for his clients year after year.”
18         20.     Although King has managed brokerage accounts for himself and others,
19   he has never achieved the returns touted on the Elevate website. Since 2016, King
20   has Hd trading authority over at least eight brokerage accounts at TD Ameritrade
21   (“TDA”) and Charles Schwab & Co. (“Schwab”). In one additional account at
22   Schwab held in his wife’s name, King did not have express trading authority, but it
23   appears he made the trades because the trading is consistent with King’s trading in
24   the other accounts.
25         21.     King’s trading resulted in significant realized losses year after year for
26   all of the accounts he has controlled since 2016, as shown in the following chart:
27
28

                                                         5
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 1     Broker-
       Dealer       Account      2016        2017         2018          2019           2020           Total
 2     TDA        Z Partners              $(85,137)    $(40,332)    $(28,176)      $(19,668)      $(173,313)
 3     TDA        Individual C            $(17,760)    $(61,561)    $(37)                         $(79,358)
       TDA        Individual J                         $(84,673)    $(302)         $(23,368)      $(108,343)
 4     TDA        Opulent                              $(323,279)   $(106,323)                    $(429,602)
       TDA        Elevate                                           $(1,917,954)   $(1,503,020)   $(3,420,974)
 5                King & S.
       TDA        King         $(4,323)   $(140,995)   $(648,429)   $(70,252)      $(300,716)     $(1,164,715)
 6
       Schwab     King                                                             $(403,428)     $(403,428)
 7     Schwab     Elevate                                                          $(145,230)     $(145,230)
       Schwab     S. King                                                          $(10,628)      $(10,628)
 8                Total                                                                           $(5,935,591)
 9
            22.     Third, Elevate’s website touts its affiliation with well-known securities
10
     industry participants by stating that its “Trusted Providers” include TD Ameritrade,
11
     Charles Schwab, Interactive Brokers, and NinjaTrader. In fact, TD Ameritrade
12
     closed Elevate’s and King’s accounts in July and August 2020. Interactive Brokers
13
     has received account applications from Elevate and King but has not approved the
14
     opening of any accounts. NinjaTrader has no record of any business relationship with
15
     King or Elevate.
16
            23.      Defendants’ false and misleading statements to investors are material.
17
     A reasonable investor would have considered it important to know that the Fund was
18
     not paying 61% rates of return, that King was not the successful money manager the
19
     Elevate website held him out to be, and that Elevate did not have relationships with
20
     reputable brokerage firms.
21
            24.     King and Elevate are the makers of the statements on the Elevate
22
     website because King is the founder and president of Elevate, and the website
23
     represents him to be such.
24
            C.      Defendants Engaged in a Fraudulent Scheme
25
            25.     In addition to making material misrepresentations to investors,
26
     Defendants are engaged in a fraudulent scheme. First, Defendants are soliciting
27
     investors to invest in the Fund, when no such entity exists, and all investor funds are
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 1   being deposited into brokerage accounts in King’s name and Elevate’s name. King
 2   opened Elevate’s Schwab brokerage account under the name of “Elevate Investments
 3   LLC” but opened the account as a sole proprietorship account and represented in the
 4   account application that he would use the account for his investments and those of his
 5   relatives.
 6          26.   Second, Defendants are transferring investor funds to accounts
 7   controlled by the Kings. Since June 2019, King has transferred from the King and
 8   Elevate brokerage accounts $1.2 million to bank accounts affiliated with the Kings.
 9   Under the terms of the offering as disclosed on Elevate’s website, neither King nor S.
10   King has any legitimate claim to these funds.
11          D.    Defendants’ Fraud is Ongoing
12          27.   King and Elevate continue to raise funds from investors. In the three
13   months from September through November 2020, King and Elevate have raised
14   $1.87 million from investors. During the same period, King and Elevate suffered
15   $532,232 in trading losses.
16          28.   Despite suffering these losses, King transferred $298,000 to bank
17   accounts in S. King’s name. King transferred an additional $100,000 to S. King’s
18   bank account on December 1, 2020.
19          E.    Elevate and King Are Investment Advisers to a Pooled Investment
20                Vehicle
21          29.   Elevate and King are investment advisers to the Fund.
22          30.   King and Elevate hold the Fund out to be engaged in the business of
23   investing in securities, thus, it was a pooled investment vehicle as defined in Advisers
24   Act Rule 206(4)-8(b), 17 C.F.R. § 275.206(4)-8(a).
25          31.   Elevate is advising the Fund on investing in securities. In addition,
26   Elevate’s website states that it receives compensation from the Fund equal to 50% of
27   the Fund’s profits above 10%.
28          32.   King also meets the definition of an investment adviser. King provides

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 1   investment advice to the Fund in that he has the trading authority over his and
 2   Elevate’s brokerage accounts and is prominently featured in Elevate’s website as the
 3   person who is trading for the Fund. He also receives compensation in that he has
 4   transferred investor funds to bank accounts held by himself, his wife S. King, or
 5   companies he controls.
 6         F.      Defendants Acted With a High Level of Scienter, or in the
 7                 Alternative, were Negligent
 8         33.     King acted with a high level of scienter.
 9         34.     King knew, or acted recklessly in not knowing, that the representations
10   he made to investors in the Fund about his skills and past rates of return, and
11   Elevate’s relationships with brokerage firms, and were materially false and
12   misleading.
13         35.     In addition, King’s conduct was negligent. As an investment adviser and
14   fiduciary, King’s conduct was a departure from the ordinary standard of care
15   expected of a fiduciary. King’s conduct in offering and selling securities issued by
16   Elevate, while misrepresenting Elevate’s rates of return and relationships with trusted
17   brokers, and his skill as an investment adviser, was a departure from the ordinary
18   standard of care of a person offering and selling securities.
19         36.     King’s state of mind is imputed to Elevate because he controls it.
20                               FIRST CLAIM FOR RELIEF
21           Fraud in the Connection with the Purchase and Sale of Securities
22              Violations of Section 10(b) of the Exchange Act and Rule 10b-5
23                                   (against all Defendants)
24         37.     The SEC realleges and incorporates by reference paragraphs 1 through
25   36 above.
26         38.     As set forth above, Defendants King and Elevate made several material
27   misrepresentations, and omitted material information, to Elevate investors, including
28   the historical rate of return of the Fund, King’s track record as a money manager, and

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 1    the relationship between Elevate and various brokerages.
 2          39.    In addition, Defendants King and Elevate engaged in a scheme to
 3    defraud whereby they induced investors to investors to invest in the Fund, but placed
 4    Fund assets into accounts under their names and then transferred those assets to
 5    accounts controlled by King and S. King.
 6          40.    By engaging in the conduct described above, Defendants King and
 7    Elevate, directly or indirectly, in connection with the purchase or sale of a security,
 8    and by the use of means or instrumentalities of interstate commerce, of the mails, or
 9    of the facilities of a national securities exchange: (a) employed devices, schemes, or
10    artifices to defraud; (b) made untrue statements of a material fact or omitted to state a
11    material fact necessary in order to make the statements made, in the light of the
12    circumstances under which they were made, not misleading; or (c) engaged in acts,
13    practices, or courses of business which operated or would operate as a fraud or deceit
14    upon other persons.
15          41.    By engaging in the conduct described above, Defendants King and
16    Elevate violated, and unless restrained and enjoined will continue to violate, Section
17    10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5(b) thereunder, 17
18    C.F.R. § 240.10b-5(b).
19                              SECOND CLAIM FOR RELIEF
20                           Fraud in the Offer or Sale of Securities
21                      Violations of Sections 17(a) of the Securities Act
22                                   (against All Defendants)
23          42.    The SEC realleges and incorporates by reference paragraphs 1 through
24    36 above.
25          43.    By engaging in the conduct described above, Defendants King and
26    Elevate obtained money or property by means of false statements to investors in
27    connection with the offer or sale of investments in the Fund, and omitted to disclose
28    material information about Elevate and King.

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 1          44.    In addition, Defendants King and Elevate engaged in a scheme to
 2    defraud whereby they induced investors to investors to invest in the Fund, but placed
 3    Fund assets into accounts under their names and then transferred those assets to
 4    accounts controlled by King and S. King.
 5          45.    By engaging in the conduct described above, Defendants King and
 6    Elevate, directly or indirectly, in the offer or sale of securities by the use of means or
 7    instruments of transportation or communication in interstate commerce or by use of
 8    the mails (a) employed devices, schemes, or artifices to defraud; (b) obtained money
 9    or property by means of untrue statements of a material fact or by omitting to state a
10    material fact necessary in order to make the statements made, in light of the
11    circumstances under which they were made, not misleading; or (c) engaged in
12    transactions, practices, or courses of business which operated or would operate as a
13    fraud or deceit upon the purchaser.
14          46.    Defendants King and Elevate, with scienter, obtained money or property
15    by means of untrue statements of material fact or by omitting to state a material fact
16    necessary in order to make the statements made, in light of the circumstances under
17    which they were made, not misleading. In the alternative, Defendants King and
18    Elevate were negligent.
19          47.    By engaging in the conduct described above, Defendants King and
20    Elevate violated, and unless restrained and enjoined will continue to violate, Section
21    17(a) of the Securities Act, 15 U.S.C. § 77q(a).
22                                THIRD CLAIM FOR RELIEF
23                        Fraud Involving a Pooled Investment Vehicle
24            Violations of Section 206(4) of the Advisers Act and Rule 206(4)-8
25                                   (Against All Defendants)
26          48.    The SEC realleges and incorporates by reference paragraphs 1 through
27    36 above.
28          49.    Defendant King and Elevate, by engaging in the conduct described

                                                     10
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 1    above, while acting as an investment adviser to a pooled investment vehicle, directly
 2    or indirectly, by use of the mails or means or instrumentalities of interstate
 3    commerce:
 4                   (a)    made untrue statements of a material fact or omitted to state a
 5             material fact necessary in order to make the statements made, in the light of the
 6             circumstances under which there were made, not misleading, to any investor or
 7             prospective investor in the pooled investment vehicle; and
 8                   (b)    engaged in acts, practices, or courses of business that were
 9             fraudulent, deceptive, or manipulative with respect to any investor or
10             prospective investor in the pooled investment vehicle.
11             50.   Specifically, King and Elevate provided investors in the Fund with
12    materially false and misleading information about the historical performance of the
13    Fund and other accounts under King’s management, and about Elevate’s relationships
14    with brokerage firms.
15             51.   In his role as Elevate’s owner and president, King’s failure to exercise
16    reasonable care, and his knowledge and recklessness, are imputed to Elevate.
17             52.   By engaging in the conduct described above, King and Elevate violated,
18    and unless restrained and enjoined will continue to violate, Section 206(4) of the
19    Advisers Act [15 U.S.C. § 80b-6(4)] and Rule 206(4)-8(a) [17 C.F.R. § 275.206(4)-
20    8(a)].
21                                     PRAYER FOR RELIEF
22             WHEREFORE, the SEC respectfully requests that the Court:
23                                                 I.
24             Issue findings of fact and conclusions of law that Defendants committed the
25    alleged violations.
26                                                 II.
27             Issue, in a form consistent with Fed. R. Civ. P. 65, a temporary restraining
28    order and an order to show cause why a preliminary injunction should not be entered,

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 1    temporarily and preliminarily enjoining Defendants from violating Section 10(b) of
 2    the Exchange Act [15 U.S.C. §§ 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. §
 3    240.10b-5], Section 17(a) of the Securities Act [15 U.S.C. §77q(a)], Section 206 (4)
 4    of the Advisers Act [15 U.S.C. §§ 15 U.S.C. § 80b-6(4)] and Rule 206(4)-8(a) [17
 5    C.F.R. § 275.206(4)-8(a)], freezing the funds and assets of Defendants and Relief
 6    Defendant; prohibiting Defendants and Relief Defendant from destroying documents;
 7    ordering an accounting by Defendants and Relief Defendant; ordering expedited
 8    discovery; and appointing a temporary and permanent receiver over Elevate.
 9                                             III.
10          Issue judgments, in forms consistent with Rule 65(d) of the Federal Rules of
11    Civil Procedure, permanently enjoining the Defendants, and their officers, agents,
12    servants, employees and attorneys, and those persons in active concert or
13    participation with any of them, who receive actual notice of the judgment by personal
14    service or otherwise, and each of them, from violating Section 10(b) of the Exchange
15    Act [15 U.S.C. §§ 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5],
16    Section 17(a) of the Securities Act [15 U.S.C. §77q(a)], and Section 206(4) of the
17    Advisers Act [15 U.S.C. §§ 15 U.S.C. § 80b-6(4)] and Rule 206(4)-8(a) [17 C.F.R.
18    § 275.206(4)-8(a)].
19                                             IV.
20          Order Defendants to disgorge all funds received from their illegal conduct,
21    together with prejudgment interest thereon.
22                                              V.
23          Order Relief Defendant to disgorge all funds improperly transferred to her by
24    Defendants.
25                                             VI.
26          Order Defendants to pay civil penalties under Section 21(d)(3) of the Exchange
27    Act [15 U.S.C. § 78u(d)(3)], Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)],
28    and Section 209(e)(1) of the Advisers Act [15 U.S.C. § 80b-9(e)(1)].

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 1                                              VII.
 2          Retain jurisdiction of this action in accordance with the principles of equity and
 3    the Federal Rules of Civil Procedure in order to implement and carry out the terms of
 4    all orders and decrees that may be entered, or to entertain any suitable application or
 5    motion for additional relief within the jurisdiction of this Court.
 6                                              VIII.
 7          Grant such other and further relief as this Court may determine to be just and
 8    necessary.
 9
10    Dated: December 21, 2020                       /s/ Lynn M. Dean
11                                                   Lynn M. Dean
                                                     Kathryn Wanner
12                                                   Attorneys for Plaintiff
13                                                   Securities and Exchange Commission

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